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 7
 8                      UNITED STATES DISTRICT COURT
 9                    NORTHERN DISTRICT OF CALIFORNIA
10
11   HOLZ LTD.                   )
                                 )
12             Plaintiff(s),     )            No. C05-0244 BZ
                                 )
13        v.                     )            CLAIM CONSTRUCTION ORDER
                                 )
14   ROBERT JAMES KASHA, et al., )
                                 )
15             Defendant(s).     )
                                 )
16
17        At the request of the parties (Joint Claim Construction
18   and Prehearing Statement [docket document # 34]), the Court
19   construes the following claims:
20
     Claim Terminology Relating to                      Constructions
21   U.S. Patent No. 4,742,573
     “adhesively secured”                   secured by adhesive
22
     “affixing”                             attaching
23
     “aperture”                             hole or opening
24
     “clamp”                                a device that tightly or
25                                          firmly holds or presses parts
                                            together (including, for
26                                          example, holding the clamp to
                                            the sheet or multiple pieces
27                                          of the clamp to one another)
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 1    Claim Terminology Relating to                      Constructions
 2    U.S. Patent No. 4,742,573
      “closed peripherally”                    closed around the periphery
 3                                             of
 4    “drumhead”                               head of a drum

 5    “comprises a peripheral frame            includes a supporting part
      member”                                  around the periphery (of the
 6                                             hole or opening)
      “marginally of”                          at the edge of
 7
      “sheet”                                  a broad, thin, mass or piece
 8                                             of material that need not be
                                               flat
 9
      “substantially rigid relative            more rigid than the sheet
10    to said sheet”

11    “tensioning ring”                        a ring that tensions

12         Regarding the claim “substantially reestablishing the

13   integrity”, for the reasons discussed at the January 18, 2006,

14   the Court chooses not to construe such claim because the

15   ordinary and customary meaning of the terms is sufficiently

16   clear to a person of skill in the art.            See Phillips v. AWH

17   Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005)(“In some cases,

18   the ordinary meaning of claim language as understood by a

19   person of skill in the art may be readily apparent even to lay

20   judges, and claim construction in such cases involves little

21   more than the application of the widely accepted meaning of

22   commonly understood words.”)

23         IT IS SO ORDERED.

24   Dated:     January 18, 2006

25
                                            Bernard Zimmerman
26                                   United States Magistrate Judge

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